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Exhibit E
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2021 WL 5239902
Only the Westlaw citation is currently available
United States District Court, WD. New York

Steven L. MOHNKERN and Sarah Mohnkern, Plaintiffs,
Vv.

EQUIFAX INFORMATION SERVICES, LLC,
Experian Information Solutions, Inc., Trans Union,
LLC, Breckenridge Group Statesboro Georgia, LLC

and National Credit Systems, Inc, Defendants.

19-C'V-6446L
I
Signed 11/10/2021

Attorneys and Law Firms

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LLP, Rochester, NY, for Plaintiffs.

Matthew Brady Johnson, Gordon Rees Scully Mansukhani,
LLP, New York, NY, for Defendant National Credit Systems,
Inc.

DECISION AND ORDER

DAVID G. LARIMER, United States District Judge

D JON

*1 Plaintiffs Steven L. Mohnkernm and Sarah Mohnkerm
filed this Jawsuit against Breckenridge Group Statesboro
Georgia, LLC (“Breckenridge”) and National Ceedit Systems,
Inc. (“NCS”), alleging claims pursuant to the Fair Credit

Reporting Act (“FCRA”), F315 U.S.C. § 1681 ef seq, the
Fair Debi Collection Practices Act (‘FDCPA”), 15 U.S.C. §

1692 ef seq , and New York state law, specifically, Ponew
York General Business Law section 349(a) and common law
fraud. (See generally Dkt. # 1). |

Two molions are pending before the Court. First, plaintiffs

request a default judgment pursuant to rule 55(b) of
the Federal Rules of Civil Procedure against Breckenridge
regarding their New York state law claims, which are the only
claims alleged against Breckenridge. (Dki. # 27). Second,
NCS moves for judgment on the pleadings pursuant to Rule

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12(c). seeking dismissal of plaintiffs’ FCRA and FDCPA
claims, which are the only claims asserted against NCS. (Dkt.
H 38).

For the following reasons, NCS's motion is granted, which
resolves all federal claims alleged by plaintiffs in this
case. As a result, { decline to exercise supplemental
jurisdiction over plaintiffs’ state law claims alleged agains!
Breckenridge and dismiss those claims on thal basis, and thus
deny plaintiffs’ motion for default judgment. Accordingly,
plaintiffs’ complaint is dismissed in its entirety

BACKGROUND*

On December 15, 2017, Sarah Mohnkern entered into a
lease agreement with Breckenridge for a college apartment in
Statesboro, Georgia, which Steven Mohnkern (Sarah's father)
co-signed (the “Lease™). (Dkt. # 1 at fj (8-19). The Lease,
which the parties have not produced as part of the record.
cailed for monthly payments of $584.00 for twelve months
(id at 120). It also provided that “a tenant could terminate [it]
upon a ‘Completed Reassignment,’ i.c.[,] locating a tenant to
take the[ } [original tenant's] place in the apartment building,”
a provision Breckenridge told plaintiffs they could satisfy
“simply [by] find[ing] someone to ‘take over [the Lease].’
“(ld at $§ 21-22).

Sarah Mohnkern did nol move into the apartment as planned,
and plaintiffs thus sought to get out of the Lease in
accordance with the “completed reassignment” provision. (/d
at 9 23, 24, 32). When Sarah Mohnkern identified two
potential replacement tenants to assume the Lease, however,
Breckenridge “thwarted [plaintiffs’] efforts to have someone
take over [the] [L]ease” and signed each of these replacement
tenants to separate leases. (/d at Ff] 24-31, 36). Plaintiffs
allege that Breckenridge’s conduct amounted to a material
breach of the Lease under Georgia law, thereby relieving
plaintiffs’ obligations under the Lease; plaintiffs therefore did
not make any Lease payments to Breckenridge. (See generally
Dkt #1)

*2 Based on this nonpayment, on September 1, 2018

a month following Sarah Mohnkern's original move-in date
Breckenridge “accelerated the rent for the twelve-month

period” of the Lease, an action which plaintiffs allege also

violated Georgia law, and attempted to collect the $7,008.00

plaintiffs owed (the “Debt"). (/@ at § 33, 37, 94-97). At some

point “[sJoon thereafter,” Breckenridge placed plaintiffs’
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Debt with NCS for collection, and NCS “began contacting
plaintiffs in an attempt to collect the [Djebt.” (/d at 99 34-35)
NCS's collection efforts included sending plaintiffs’ attorney
a letter on November 14, 2018 with “a copy of the [L]ease and
an invoice from Breckenridge.” to which plaintiffs responded
by letter on December 13, 2018 explaining their view that
Breckenridge breached the Lease, that plaintiffs did not
owe the Debt, and “demand[ing] that NCS cease collection
efforts.” (/d¢ at J] 37-39). There is no allegation that NCS
continued collection efforts following plaintiffs’ December
2018 letter.

NCS ultimately reported the Debt as a “delinquent account”
to three of the major credit reporting agencies, Equifax,
Experian, and Trans Union. (éd. at 9 40). Plaintiffs disputed
the accuracy of the Debt in an April 15, 2019 letter to Equifax,
Experian, Trans Union, and NCS, and requested that those
entities delete information relating to the Debt from plaintiffs’
credit reports, again expressing their view that Breckenridge
breached the Lease and pointing to legal authority showing
that the Debt was “unenforceable under Georgia law.” (/d at
9 47-49). After receiving notice of this dispute from Equifax,
Experian, and Trans Union, NCS nonetheless confirmed that
the information was accurate, and the Debt continued to be
reported on plaintiffs’ credit reports. (fd at §f] 16, 50-52,

151). * Plaintiffs allege that this inaccurate credit information
has negatively impacted their credit scores, their ability to
obtain 2 car loan, and Sarah Mohnkern's efforts to apply for
an apartment. (/d. at FJ 44-46, 158).

DISCUSSION
I. NCS's Motion for Judgment on the Pleadings

[ tum first to NCS's motion for judgment on the pleadings
because it deals with the federal claims over which this Court
has original jurisdiction.

A. Legal Standard
Rule 12(c) of the Federal Rules of Civil Procedure permits

a party to move for judgment on the pleadings “[a]fter the
pleadings are closed[,] but early enough not to delay trial.”

FED. R. CLV. P. 12(c). 4 The standard applicable to Rule 12(c)
motions mirrors that for motions brought under Rule 12(b)

(6) of the Federal Rules of Civil Procedure. See Hayden ¥
Paterson, 594 F.3d 150, 160 (2d Cir. 2010). To survive a Rule
12(c) motion, then, “the complaint must contain sufficient

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factual matter to ‘state a claim to relief that is plausible on
its face.” ™ F Graziano v Pataki, G89 F.3d 110, 114 (2d

Cir. 2012) {quoting Fagen Ad Carp. v Twombly, 550 US
$44, 570 (2007)). “A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw
the reasonable inference that the defendant is liable for the

misconduct alleged.” F2 Ashcroft v Igbai, 556 U.S. 662, 678
(2009). This “plausibility standard is not akin to a probability
requirement, but it asks for more than a sheer possibility that
a defendant has acted uniawfully.” fa. (quotations omitted).
Moreover, while at this stage the court must accept as
true all factual allegations in the complaint and draw all

teasonable inferences in favor of the plaintiff, see F2yohnson
v Rowley, 569 F.3d 40, 43 (2d Cir. 2009), at the same
time, “legal conclusions, deductions or opinions couched as
factual allegations [need not be accorded] a presumption of

truthfulness,” Pn re NFSE Specialists Sec Ling , 503 F.3d
89, 95 (2d Cir 2007) (Sotomayor, J.) (alterations, brackets,
and citation omitted), cert dented sub nom , California Public
Employees’ Ret Sys v New York Stock Exch. Inc , 552 US
129] (2008).

B. Plaintiffs’ FCRA Secti = lain
*3° Plaintiffs’ FCRA claim arises under section 1681s-2(b)
of the statute and challenges NCS5's investigation of plaintiffs’
dispute of the reported Debt, as well as NCS's refusal to
request that Equifax, Experian, and Trans Union delete the
Debt from plaintiffs’ credit reports. (See Dkt. # 1 at Ff
112-60). For the following reasons, this claim fails.

“The FCRA seeks to ensure ‘fair and accurate credit
reporting.” ~ Fispokeo, inc v Robins, 578 U.S. 330, 334

(2016) (quoting F715 U.S.C. § 1681(a)(1)). The statute
thus “regulates credit reporting procedures to ensure the
confidentiality, accuracy, relevancy, and proper utilization
of consumers’ information,” Longman v Wachovia Bank,

N 4. 702 F.3d 148, 150 (2d Cir, 2012) (citing Pus US.C
§ 1681(b)), and “places distinct obligations on three types
of entities: consumer reporting agencies, users of consumer
reports, and fuenishers of information to consumer reporting
agencies,” Ostreicher v Chase Bank USA, N.A, 2020 WL
6809059, *3 (S._D.N.Y. 2020) (citation omitted).

Relevant here, furnishers of information (“furnishers”), such
as NCS (see Dkt. #4 | at 9 13; 18 at 7 13), are “entities that
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Iransmit, to credit reporting agencies, information relating

to debts owed by consumers.” ane v Guar Residential
Lending Inc, 2008 WL 1153623, *3 (E.D.N.Y. 2005),
whereas consumer (or credit) reporting agencies (“CRAs”),
such as Equifax, Experian. and Trans Union, (see Dkt. #4 | at
4 12, 6 at ¥ 12; 8 at $12; 20 at ¢ 12), are entities that “regularly
engage[ ] in whole or in part in the practice of assembling or
evaluating consumer credit information or other information
on consumers for the purpose of furnishing consumer reports

to third parties.” F15 U.S.C. § 1681a(f).

For our purposes here, section 1681s-2(b) of the FCRA
“outlines a furnisher's duttes following a dispute regarding
the completeness or accuracy of a consumer's credit report,”
Sprague v. Salisbury Bank & Trust Co, 969 F.3d 95, 99
{2d Cir. 2020), and among these is the obligation “to
investigate and verify the accuracy of the information thal
they report [to CRAs] following notice of a dispute from a
[CRA],” hdtv Frans Union LLCO, 2020 WL $604748, *3
(ED N.Y.) report and recommendation adopted by, 2020
WL 5594638 (E.D.N.Y. 2020). Specifically, after a furnisher
receives notice from a CRA that a consumer disputes the
“completeness or accuracy” of furnished information, the
furnisher must (1) investigate the disputed information, (2)
review all relevant information provided by the CRA, and
(3) report the results of the investigation to the CRA.

Fis U.S.C. §§ 1681s-2(b) I KA}(C); see also Sprague,
969 F.3d at 99, If the furnisher's investigation reveals that
furnished information is incomplete, inaccurate, or cannot
be verified, it must report those results to all CRAs and
take corrective measures by either modifying, deleting, or
permanently blocking the reporting of the misinformation.

See is US.C. §§ 1681s-2(b)(1)(D), (E). A furnisher's
investigation of the disputed information must be reasonable
See vili, 2020 WL 5604748 at "4.

To state a claim under section 1681s-2(b} of the PFCRA,
therefore, a plaintiff must allege that “{1) a credit furnisher
received notice of a credit dispute from a [CRAJL] and (2)
the furnisher negligently or willfully failed to conduct a
reasonable investigation.” fd. (brackets and citation omitted).
A plaintiff must also allege that the information reported

by a furnisher to a CRA was inaccurate. Sev Fpitman
v Experian Info. Sols. Inc., 901 F.3d 619, 629 (6th Cic.
2018) (“a threshold showing of inaccuracy or incompleteness

is necessary in order to succeed on a claim under lg
1681s-2(b)"); see alse Nei, 2020 WL $604748 at *4 (“for

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a F section 16815-2(b) claim to succeed, a plaintiff musi
be able to prove that the information reported was in fact
inaccurate”), Holland v Chase Bank USA, N A, 475 F. Supp.
3d 272, 276 (S.D.N.Y. 2020) (“(a] ‘prima facie showing of

inaccurate reporting’ is ... essential to maintaining a Fas
168 15-2(b) claim”) (citation omitted)

*4 Credit information can be deemed to be “inaccurate”
if it ts “patently incorrect” or “misleading in such a way
and to such an extent that it can be expected to adversely
affect credit decisions.” Ostreicher, 2020 WL 6809059 at *3

(brackets and quotations omitted); accord F3 piuman, 901
F.3d at 630 (reported information is inaccurate if “a plaintiff
can show that the information provided [by a furnisher to a
CRA] is false or that it contains a material omission or creates
a materially misleading impression”). To be sufficiently
misleading, then, a plaintiff must show that the reported
information is “open to an interpretation that is directly

contradictory to the true information.” Penning v On-
Site Manager. Inc, 2016 WL 3538379, *9 (S$. D.N.Y. 2016)
(citation omitted)

Plaintiffs here allege that NCS violated Pasection 168 3s-2(b)}
by failing to conduct a “reasonable investigation” of
plaintiffs’ dispute of the accuracy of the reported Debt, and
by “refusing to request” that Equifax, Experian, and Trans
Union (the “CRA defendants) “delet(e]” this “inaccurate
information” from plaintiffs’ credit reports. (Dkt. 4 | at 99
152-54; see also Dkt. # 44 at 9-12). In essence, plaintiffs
contend that NCS's investigation was unreasonable because
it failed to conclude that plaintiffs do not, in fact, owe the
Debt. Plaintiffs allege that during its investigation, NCS failed
to review background documents pertaining to plaintiffs’
dispute of the Debt as well as “relevant [Georgia} legal
authority,” all of which, according to plaintiffs, show that
Breckenridge breached the Lease, rendering the Debt “false”
and “unenforceable under Georgia law.” (Dkt. # 1 at 9
150-52). NCS, on the other hand, maintains that plaintiffs’
FCRA claim fails because the Debt it reported to the
CRA defendants was “factually accurate,” and therefore “no
reasonable investigation would have detected the alleged
inaccuracy.” (Dkt. # 38-1 at 8).

The threshold dispute in this case is whether NCS's reporting
of the Debt as a delinquent account to the CRA defendants
was accurate. Criticalty, plaintiffs’ claim of inaccuracy — thal
the Debt reported by NCS is one that plaintiffs do not owe -
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is based entirely on their view that Breckenridge materially
breached the Lease under Georgia law, thereby relieving
plaintiffs of their obligation to pay Breckenridge pursuant to
the Lease. In other words, only if Breckenridge breached the
Lease was NCS's reporting of the Debt inaccurate

But whether Breckenridge actually breached the Lease under
Georgia law is a legal question that has not been resolved
in plaintiffs’ favor. In fact, plaintiffs have not commenced
any action in Georgia or New York seeking a declaration
as to plaintiffs’ liability under the Lease. Certainly, no such
contract claim is presently before this Court to resolve (see
generally Dkt. # 1), and, furthermore, the Court is under no
obligation to accept as true plaintiffs’ conclusory allegation

that Breckenridge breached the Lease. See Pin re NYSE
Specralists Sec. Litig., 503 F 3d at 95 (courts need not accept
as true “legal conclusions, deductions or opinions couched as
factual allegations”). At best, then, plaintiffs allege that they
do not owe the Debt — and that NCS's reporting of the Debt
was therefore inaccurate for purposes of the FCRA — based
solely on their unproven legal defense to payment of the Debt
under Georgia law.

NCS contends that these allegations of “inaccuracy” based on
legal disputes are insufficient to state a claim under section
168 1s-2(b) of the FCRA. NCS cites two federal circuit court
cases for the proposition that when a consumer's allegation
that a reported debt is “inaccurate” turns on an unresolved

legal question, a Psection 163 1s-2(b) claim that a furnisher
failed to conduct a reasonable investigation of disputed credit
information cannot stand. (See Dkt. ¥ 38-1 at 10-12 (citing
Hunt v. JPMorgan Chase Bank. Nat'l dss'n, 770 F. App’x 452

(11th Cir. 2019} and chiang v Verizon New England, inc ,
$95 F.3d 26 (Ist Cir. 2010))). I agree.

*§ In Chiang, the First Circuit dismissed a plaintiff's

section [68ls-2(b} claim thai the furnisher defendant
failed to adequately investigate plaintiff's dispute of reported
credit information, holding that this type of claim required
a plaintiff to show “actual inaccuracies that a furnisher's
objectively reasonable investigation would have been able

to discover,” which the plaintiff there failed to do. Fasgs
F.3d at 29-30, 41. In reaching that determination, the court
relied on a case in the “related context" regarding CRAs’
separate obligation to “reinvestigate” a consumer's dispute as
to the accuracy of reported credit information under section

16811 of the FCRA. P2/d at 36-37 (citing PDedndrucde v

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Trans (mon LLC, 523 F.3d 61 (ist Cur. 2008). ° The court
“emphasize(d} that. just as in suits against CRAs, a plaintiff's
required showing [for a claim against a furnisher under

section 1681s-2(b)] is factese! inaccuracy, rather than the
existence of disputed legal questions” because “[I]ike CRAs,
fumishers are ‘neither qualified nor obligated to resolve’
matters that ‘turn[ | on questions that can only be resolved by

a court of law.’ Pra at 37-38 (emphasis in original) (citing
Ppesndrade, 523 F.3d at 68).

Relying on Chiang, the Eleventh Circuit in an unpublished

decision also dismissed a plaintiff's P section 1681s-2(b)
claim, which alleged that a furnisher failed to conduct a
reasonable investigation of disputes as to the accuracy of
furnished information. Hunt, 770 F. App'x at 453. There, the
plaintiff's claimed inaccuracy turned on a question of whether
actions taken by the furnisher defendant relieved plaintiff of
his obligation to make payments on his mortgage. /@ at 453.

In dismissing this claim, the Aff court stated that “[w]hether
[plaintiff] was obligated to make payments on the mortgage
after the [state court action] was filed is a currently unresolved
legal, not factual, question,” and that “even assuming
[defendant] furnished information that tummed out to be legally
incorrect under some future ruling, (defendant's) purported
legal error was an insufficient basis for a claim under the
FCRA.” id

*6 The Second Circuit has not addressed whether an
alleged legal dispute regarding the validity or enforceability
of an underlying debt renders that debt “inaccurate” for

purposes ofa section 168 4s-2(b)} claim against a furnisher.
Chiang, however, appears to be the leading case on this
issue, which the Eleventh Circuit subsequently followed in
Hunt. In addition, numerous courts have applied Chiang
when addressing this issue, including one in the Southern
District of New York, see Holland, 475 F. Supp. 3d at
276 (“(hJere, [plaintiff's] claim of ‘factual inaccuracy’ relies
entirely on his legal contention that his debts had been
discharged due to the purported running of the relevant state's
statute of limitations[;] ... [s]uch a dispute is a legal, not
a factual. challenge, and ... plainly insufficient to support

[plaintiffs] FCRA claim [under Pas cction 168 1s-2(b))"},
and elsewhere, see, eg. Garey v BIW Law Grp. LLC,
2021 WL 4524329, *16-17 (D. Md. 2021) (“[t}he fact that
[plaintiff] continues to dispute the legality of the [reported]
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foreclosure is of no object — {furnisher defendant] 1s neither
qualified nor obligated to resolve a question that can only be
resolved by a court of law”) (citation and quotations omilted),
Garland v Marine Credit Union, 2018 WL 5313769, *2,
4 (E.D. Wis. 2018) ("the dispute in this case ts not over a
factual inaccuracy in [d]efendants* reporting but rather a legal
dispute regarding the impact the [state court amortization]
proceeding had on [plaintiffs] debt overalll;] [a]s a
result, unless and until a proper tribunal conctudes the (state
court amortization] proceeding eliminated the debts in their
entirety or that the plan precludes the accrual of post-
filing interest and other penalties, [p)laintiff cannot establish
that the reported information is factually inaccurate”);
Mehta v Wells Fargo Bank, NA, 2017 WL 10573815, *3
(CD. Cal. 2017) (“[plaintiff's] assertion — that [djefendant's
failure to perform all of its contractual obligations absolved
[plaintiff of her own duty to pay — és simply a contractual
defense to the underlying debt [and] [t]he FCRA does not
require (djefendant [furnisher] to adjudicate [p]taintiff's legal
contentions in the course of a credit investigation”) (footnote
omitted).

And while Chiang has not been endorsed universally, see.

@g, F3penan v Trans Union LLC, 959 F.3d 290, 295 (7th
Cir. 2020) (noting that because furnishers, unlike CRAs,
“assume[ ] the risk and bear the loss of unpaid debt .
they are in a better position to determine the legal validity
of a debt"); Thompson v Transunion Data Sols.. LLC,
2021 WL 1923409, *2 (N_D. fl, 2021) (“[uJnlike [CRAs],
furnishers must resolve legal questions regarding the liability
when necessary to resolve disputed information”), it certainly
appears to represent the prevailing view when courts deal with
the type of claim asserted against furnishers like plaintiffs’
here.

Curiously, plaintiffs do not cite or attempt to distinguish
Chiang and its progeny in their opposition papers. Instead,
and without any meaningful analysis, plaintiffs chalk up
the “distinction between a factual inaccuracy and an
account subject to a legal dispute” as a mere “distraction,”
contending that a “[flraudulent debt that is subject to some
vaguely defined legal dispute is still ‘materially misleading’
and therefore inaccurate under Second Circuit case law

interpreting the FORA.” (Dkt. # 44 at II (citing itenning,
2016 WL 3538379 at *9))}. But Henning (the only case cited
by plaintiffs in support of their postion that NCS's argument
amounts to a “distraction”) did not at all address the issue
presented in this case; that case dealt with, in relevant part,

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claims that the CRA defendant used a misleading term to
describe information produced in a consumer report, as well
as that the CRA “omitted crucial mitigating information”
that could have provided ciarity to the reported infomation.

it
f“IKenning, 2016 WL 3538379 at *9-15. Plaintiffs make no
such claims here, and Menning is thus distinguishable

I am persuaded by the Chiang line of authority cited above
that plaintiffs’ legal defense to payment of the Debt under
Georgia contract law does not render the Debt “inaccurate”

for purposes of their P section 1681s-2(b) claim. While
plaintiffs may very well believe that Breckenridge breached
the Lease thereby releasing them of their payment obligations,
that is an unresolved legal conclusion. Moreover, any
determination that Breckenridge actually breached the Lease
would require formal adjudication by a court or other tribunal
(net NCS) applying Georgia contract law. Thus, because
plaintiffs’ inaccuracy claim is inherently “tethered to a legal
dispute” with Breckenridge, it cannot form the basis of

a violation under section 168hs-2(b). See, eg , Schuh
v Aimerican Express Bank FSB, 2018 WL 3730897, *4
($.D. Fla} (“[pJlaintiffs allegations of [defendant] reporting
factually inaccurate information is only true if [pjlaintiff is
correct on the legality of the [stale court order] extinguishing
the underlying debt[:} [because [p]laintiffs allegation of a
factually inaccurate debt is tethered to a legal dispute between

the parties, it cannot form the basis ofa Fsection 168 | s-2(b)
violation”), report and recommendation adopted by, 2018
WL 3730226 (S D Fla. 2018), affd, 806 F. App'x 973 (Ith
Cir, 2020).

*7 Without a threshold showing of inaccuracy, it follows,
as NCS contends, that plaintiffs cannot show that NCS

violated Fo section 1681s-2(b) by failing to either conduct a
reasonable investigation of the disputed Debt or request that
the CRA defendants detete the Debt from plaintiffs’ credit
reports. See. eg, Spencer 1. Specialized Loan Servicing,

LLC, 2021 WL 4552548, *9 (N.D. Tex. 2021) Rs
168hs-2(b}(1) does mot mandate thal the information be
deleted from a consumer's credit reports on account of the
dispute — particularly where ihe furnisher did not report
inaccurate information in the first place") (brackets and
quotations omitted); Butnick v. Experian Info. Suis Inc ,202|
WL 395808, *1, 5 (E.D.N_Y. 2021) (dismissing plaintiff's

Fasection 168 1s-2(b) claim that defendant furnisher “failed
to conduct a reasonable investigation and continued to report
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false and inaccurale adverse information” where plamtiff
failed to sufficiently allege that furnisher provided inaccurate
or misleading tnformation)

In sum, because plaintiffs have not sufficiently alleged that
the Debt reported by NCS to Equifax, Experian, and Trans
Union was inaccurate, their FCRA claim against NCS fails
as a matter of law. Plaintiffs’ FCRA claim is accordingly
dismissed.

C. Plaintiffs’ FDCPA Claim
Plaintiffs’ FDCPA claim relates to NCS's efforts to collect
the Debt and, as with their FCRA claim, similarly hinges on
their contention that they do not owe the Debt to Breckenridge
under Georgia law (for the reasons detailed above), (See Dkt
# | at Ff 161-98). This claim must also be dismissed.

To state a claim under the FDCPA, a plaintiff must show that
“(1) she has been the object of collection activity arising from
consumer debt, (2) the defendant is a debt collector as defined
by the FDCPA, and (3) the defendant has engaged in an act or

omission prohibited by the FDCPA.” Pdssipova v Pioneer
Credit Recovery, inc, 2019 WL 6792318, *3 (S.D.N.Y
2019) (citation omitted). Here, only the third element is in
dispute; plaintiffs allege that NCS's attempt to collect the Debt
violated sections 169Z¢, 1692e(2)(A}, 1692e(5), 1692e(10),
and 1692f{1) ofthe FDCPA. (Dkt. # 1 at 47 191-92).

Section 1692e of the FDCPA prohibits debt collectors from
using “any false, deceptive, or misleading representation or

means in connection with the collection of any debt.” Pas
U.S.C. § 1692e. Among other things, this section prohibits the
“false representation of the character, amount, or legal! status

of any debt,” Pas U.S.C. § 1692e(2}(A), the “threat to take
any action that cannot legally be taken or that is not intended

to be taken,” Pe, ; US.C. § 1692e(5), and the “use of any
false representation or deceptive means to coHect or attempt
to collect any debt or to obtain information conceming

a consumer,” Pe; US.C. § 1692e(10). Moreover, the
FDCPA precludes debt collectors from using “unfair or
unconscionable means to collect or attempt to collect any

debt,” PS, ; U.S.C. § 1692f, which includes the “collection
of any amount ... unless such amount is expressly authorized
by the agreement creating the debt or permiited by law,”

i. at § 1692f(1). Whether a communication violates the
FDCPA is evaluated under the “least sophisticated consumer”

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standard, which ts an “objective standard, designed to protect

all consumers, the gullible as well as the shrewd.” Huebner
v Midland Credit Mgnu . Inc , 897 F.3d 42, 51 (2d Cir. 2018)
(citation and quotations omitted), cert. denied, 1395. Ct 1282
(2019)

NCS contends that these claims fail because plaintiffs have
not identified any misrepresentations or deceptive means used
by NCS to collect the Debt, instead, according to NCS,
plaintiffs merely dispute the legal validity of the underlying
Debt, which alone, does not violate the FDCPA. (See Dkt. #
38-1 at 15-17).

*8 Indeed, plaintiffs’ complaint makes clear that the sole
basis for each of their claims under the FDCPA is that NCS
sought to collect the allegedly invalid Debt. Plaintiffs thus
characterize themselves as “non-debtors” and cite two cases
for the proposition that “any attempts to collect debt from
a non-debtor violate the FDCPA's prohibition on making

false representation.” (Dkt. # 44 at [2 (citing FI vangorden
v Second Round Lid P'ship, 897 F.3d 433 (2d Cir 2018),

and Fl godur v Palisades Collection, LLC, 829 F. Supp
2d 246 (S8.D.N.¥. 2011))). Yet those two cases are clearly
distinguishable. In langorden, for instance, the Second
Circuit held that plaintiff stated a claim under sections 1692e
and 1692f of the FDCPA where plaintiff alleged that, despite
receiving a debt collection letter, she had, in fact, settled the
debt obligation five years earlier, and on appeal, defendant did
not dispute that the collection letter at issue misrepresented

plaintiff's debt obligation. See F3yangorden, 897 F.3d at
437-38, 442. Similarly, in Foder, defendant was liable under
the FDCPA for sending a debt collection letter to plaintiff
despite knowing that plaintiff was not the correct debtor. See

FP Bostur, 829 F. Supp. 2d at 248, 255-56.

Here, plaintiffs’ claimed status as “non-debtors” is based
entirely on their conclusory belief that they do not owe
the Debt under Georgia contract law, which, as explained
above, is an unresolved legal dispute. Without more, these
allegations, even at this stage of the case, are insufficient to
state a claim under the FDCPA. See. eg, Gray v iitistadt
Title & Escrow Co, LLC, 2011 WL 6139521, *3 (E.D, Va
2011) (dismissing plaintiffs FDCPA claims at the pleading
stage because “[p]laintiffs mere conclusory statement that
he believes the debt is false does not support a claim for
relief[;] ... [p]laintiffs subjective belief that the referenced
debt is not owed gives rise only to his right to dispute the
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liability (as he did); his belief that the debt is not owed,
without more, does not give rise to a FDCPA claim[;]
[pJlaintiff has therefore failed to establish any plausible claim
of entitlement to relief under the FDCPA”), affed. 475 F. App’x
461 (4th Cir, 2012).

“(T]he FDCPA is concerned with unlawful debt collection
practices, not mere disputes over the legality of the underlying
debts.” Chambers v Habitat Co , 68 F. App’x 711, 715 (7th
Cir. 2003) (no FDCPA claim where plaintiffs complaint
“ma(de] clear that the real issue is whether she [was] Siable
[for the debt at issue}, not whether the defendants engaged in
unlawful collection practices"), cert. denied, 540 U.S. 1119
(2004). Because plaintiffs’ FOCPA claim is based on nothing
more than their conclusory and self-serving allegations that
they do not owe the Debt (which is an unresolved legal
dispute). { do not find that plaintiffs have stated a plausible
claim under the FDCPA. Accordingly, plaintiffs’ FDCPA
claim is dismissed against NCS.

il. Plaintiffs’ Motion for Default Judgment
1 turn next to plaintiffs’ motion for default judgment pursuant

to Ppute 55(b) against Breckenridge. (Dkt. # 27). For
purposes of this motion, there is no dispute that plaintiffs
served Breckenridge on July 22, 2019 and, after failing to
answer or otherwise respond to the complaint, the Cleck
of Court entered a default against Breckenridge on August

15, 2019 upon plaintiffs’ request pursuant to P Rute $5{a).
(See Dkt. ## 17, 19, 21). At no point during this action has
Breckenridge appeared, and it has nol responded to plaintiffs’
pending motion.

In deciding NCS's motion for judgment on the pleadings
above, however, this Court has resolved all plaintiffs’ federal
claims alleged in this lawsuit and over which this Court
has original jurisdiction, (See Dkt. # 1 at FJ 2, 3 (alleging
that this Court has jurisdiction over plaintiffs’ federal claim

pursuant to 15 U.S.C. § 1681p (FCRA) and Pais USC.
§ 692k (FDCPA}, and over plaintiffs’ state law claims

pursuant to Flag U.S.C. § 1367)). As a result, and pursuant to

Fog U.S.C. § 1367(c{3), I decline to exercise supplemental
jurisdiction over plaintiffs’ remaining state law claims alleged

under New York General Business Law section 349(a} and
common law fraud, and therefore dismiss those claims. See

Fos U.S.C. § 1367(c)(3) (where a court “has dismissed all

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claims over which it had original jurisdiction,” it “may decline
to exercise supplemental jurisdiction” over the remaining

state law claims), pension Benefit Guar Corp v Morgan
Stanley inv Mgnt Inc, 712 F.3d 705, 727 (2d Cir. 2013)
(“in the usual case in which all federal-law claims are
eliminated before trial, the balance of factors to be considered
under the pendent jurisdiction doctrine — judicial economy,
convenience, faimess, and comity — will point toward
declining to exercise jurisdiction over the remaining state-
law claims”) (quotations omitted). I recognize that this case
has been pending for some time. However, discovery is
not yet closed, and no trial date has been set; in fact, the
fact discovery and dispositive motion deadlines contained in
the Scheduling Order were stayed prior to the completion
of discovery pending this Court's consideration of NCS's
motion. (See Dkt. ## 29, 52). In my view, therefore, given
the procedural posture of this case and because no federal
claims remain, plaintiffs’ New York state law claims should

be dismissed in favor of prosecution in state court. 6

*9 Accordingly, plaintiffs’ motion for default judgment
against Breckenridge is denied and plaintiffs’ state law claims
are dismissed. The Clerk of Court will also be directed to
vacate the entry of default against Breckenridge. See, eg.
Mineo v McEuchern, 2014 WL 2197032, *4 (D.N.J. 2014).

CONCLUSION

For the above-stated reasons, NCS's motion for judgment on
the pleadings (Dkt. # 38), is granted, and plaintiffs’ complaint
as alleged against NCS is dismissed. In addition, because
this Court declines to exercise supplemental jurisdiction over
plaintiffs’ state taw claims, plaintiffs’ motion for default
judgment against Breckenridge (Dkt. # 27), is denied, and
plaintiffs’ complaint as alleged against Breckenridge is
dismissed. Accordingly, plaintiffs’ complaint (Dkt. # 1) is
dismissed in its entirety. The Clerk is directed to vacate the
entry of default entered against Breckenridge (Dkt. # 21), and
to clase the case.

IT 1S SO ORDERED.

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Footnotes

1 Originally, plaintiffs also sued Equifax Information Services, LLC ("Equifax"), Experian Information Solutions,
Inc. (“Experian”), and Trans Union, LLC (“Trans Union”). (See Dkt. # 1). Pursuant to joint stipulations of
dismissal, however, Equifax, Experian, and Trans Union have been terminated as defendants, (see Dkt. ##
48, 49, 51), leaving Breckenridge and NCS as the only remaining defendants.

2 The following facts are taken from plaintiffs’ complaint.

3 None of the parties’ communications regarding the Debt that are referenced in the complaint are included
in the record.

4 As it relates to NCS, the pleadings in this case are closed; NCS filed its answer on July 31, 2019. (See Dkt.
# 18).

5 Under section 168 1i(a)}{1)(A) of the FCRA, CRAs have their own obligation to “reasonably reinvestigate any
disputed information contained within a consumer's credit report after receiving a direct dispute fram the

consumer.” Fokecha v. Trans Union, LLC, 2011 WL 2837594, “6 (E.D.N.Y. 2011), affd, 488 F. App'x
535 (2d Cir. 2012) (summary order). tn that context, it is well settled by the Courts of Appeals to have
considered the issue that CRAs need not resolve legal disputes during their reinvestigations of disputed credit
information; indeed, the First, Ninth, Seventh, and Tenth Circuits have “recognized a dichotomy between
factual inaccuracies that [CRAs] are statutorily obligated to reinvestigate, and ‘legal inaccuracies’ which are

outside (he competency of the (CRAs].” FIchutuunbat v. Experian info. Sols, inc., 4 F.4th $62, 567-68 (7th
Civ. 2021) (explaining that the “central question” in differentiating factual inaccuracies from legal inaccuracies
“is whether the alleged inaccuracy turns on applying law to facts or simply examining the facts alone,” and
stating that CRAs are “competent to make factual determinations, but they do not reach legal conclusions like

courts and other tribunals do”) (emphasis in original). See also FDenan v. Trans Union, LLC, 959 F.3d 290,

296 (7th Cir. 2020) {"(CRAs] are neither qualified nor obligated to resolve legal issues"); Fl wright v. Experian
Info. Sols., ine., 805 F.3d 1232, 1242 (10th Cir. 2015} (“[a} reasonable reinvestigation, however, does not

require CRAs to resolve legal disputes about the validity of the underlying debts they report"); Fcarvatho Vv.
Equifax info. Servs., LLC, 629 F.3d 876, 89t (9th Cir. 2010) (“[blecause CRAs are ill equipped to adjudicate
contract disputes, courts have been lcath to allow consumers to mount collateral attacks on the legal validity

of their debts in the guise of FCRA reinvestigation claims”), '™ DeAndrade v. Trans Union LLC, 523 F.3d 61,
68 (1st Cir. 2008) (whether plaintiff has a legal defense to payment of an underlying debt is “a question for a
court to resolve in a suit against [the creditor] ... not a job imposed upon (CRAs] by the FORA”).

6 The fact that this case and plaintiffs’ motion for default judgment have been pending since 2019 will nat
impact plaintiffs’ ability to pursue relief against Breckenridge in state court, at least for a period of time. See

rag U.S.C. § 1367(d) (“[t]he period of limitations for any claim asserted under (128 U.S.C. § 1367(a)] ...
shall be tolled while the claim is pending and for a period of 30 days after it is dismissed unless State law
provides for a longer tolling period”).

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